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                  Exhibit K
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                                                                   January 30, 2019
    Investigator Pedro Montez
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    401 Civic Center Drive West
    Santa Ana, CA 92701
    Phone: 714-664-3971
    Email: Pedro.montez@da.ocgov.com
    Case No: SA 18-034
    Report # TS339323

                                   Executive Summary
    Devices Tested and/or Analyzed: TASER® X26P™ Conducted Electrical Weapon
    (CEW) with serial number X13004WWX (the X26P CEW X13004WWX) paired with a
    Performance Power Magazine (PPM) with serial number E18572924; the X26P CEW
    with serial number X13004X2K (the X26P CEW X13004X2K) paired with a PPM with
    serial number E18571280; and contents of the evidence envelopes labelled “Item
    6.1”, “Item 7.1”, “EM9”, “EM10”, “Item 9”, and “Item 10”.

    Primary Findings:

    The X26P CEW X13004WWX:
       •   was trigger activated 1 time on October 27, 2018;
       •   experienced clock drift of 20 seconds fast (ahead) on October 27, 2018;
       •   had an intermittent electrical connection on Activation Sequence 391 and
           would not have had potential for full effectiveness;
       •   did not record any faults or errors that would be expected to impede
           functionality on October 27, 2018;
       •   is operating within published specifications; and
       •   does not have any visual damage that would be expected to impede
           functionality.

    The X26P CEW X13004X2K:
       •   was trigger activated 1 time on October 27, 2018;
       •   experienced clock drift of 5 seconds slow (behind) on October 27, 2018;
       •   had a complete electrical connection on Activation Sequence 449 and had
           potential for effective NMI if all conditions for NMI were met;
       •   did not record any faults or errors that would be expected to impede
           functionality on October 27, 2018;
       •   is operating within published specifications; and
       •   does not have any visual damage that would be expected to impede



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           functionality.

    The Probe, Wire, and Cartridge Inspection showed:
       •   Cartridge C4106241X is deployed and has all expected components in-tact;
       •   Cartridge C410623RN is deployed and has all expected components in-tact;
       •   The “EM9” probe is missing the rear half of the body and wire knot. The barbed
           end is severely bent, indicating it struck a hard object or was bent after impact.
       •   The “EM10” Probe 1 is missing the wire knot, preventing the wire knot
           analysis. The barbed end is straight and appears visually clean and free of
           foreign material.
       •   The “EM10” Probe 2 is missing the wire knot, preventing the wire knot
           analysis. The barbed end is slightly bent and appears visually clean and free of
           foreign material.
       •   The “Item 9” wire bundle contains a rear half of a cartridge probe and may
           belong to the “EM9” probe half. The wire knot is present in the rear probe and
           shows evidence of electrical discharge.
       •   Four ends of wire were located within the “EM9” bundle. Three ends appear
           broken due to wire stretching and the fourth end shows evidence of electrical
           discharge.
       •   The wire end with evidence of electrical discharge does not appear to have
           come from a probe’s wire knot.
       •   The “Item 10” wire bundle does not contain any probes or probe sections. 3
           ends of wire were located within the bundle and each end appears broken due
           to wire stretch.

                         Report from Axon Enterprise, Inc.
       Download and Electrical Analysis of TASER X26P CEWs X13004WWX and
                             X13004X2K, TS #339323

    Report:
    Axon Enterprise, Inc. (Axon) was asked to conduct an electrical analysis of the X26P
    CEWs with serial numbers X13004WWX and X13004X2K (both manufactured on
    November 3, 2016) to determine if the weapons are operating within manufacturer’s
    specifications, and provide a download analysis of the CEWs’ Trilogy Logs in
    reference to a reported incident on October 27, 2018. An inspection and analysis were
    also requested on the deployed CEW cartridges with serial numbers C410623RN and
    C4106241X (both manufactured on October 27, 2016), wire, and probes submitted
    with the X26P CEWs. The X26P CEWs, their PPMs, deployed cartridges, wire, probes
    and other evidentiary items were received by Axon on December 18, 2018 via FedEx
    Standard Overnight, tracking number 813685223210.



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    The X26P CEW X13004WWX and its PPM were received in an unsealed handgun box
    labelled “Item 6”. The X26P CEW X13004X2K and its PPM were received in an
    unsealed handgun box labelled “Item 7”. An unsealed evidence envelope labelled
    “Item 5” contained 11 small evidence envelopes labelled EM1 to EM5, EM7, EM9
    (containing a probe), EM10 (containing 2 probes), and 2 envelopes labelled “AFIDs
    BTWN EM1-4” and “AFIDS BTWN EM4-8”. The envelopes containing the probes were
    not sealed. Two sealed envelopes labelled “Item 9” and “Item 10” contained wire and
    the rear half of the body of one cartridge probe (not including the barbed end). Two
    sealed envelopes labelled “Item 6.1” and “Item 7.1” contained deployed 25’ Standard
    cartridges with serial numbers C4106241X (Item 6.1) and C410623RN (Item 7.1).

    The download and electrical analysis, along with a physical inspection of the X26P
    CEWs, were performed at Axon’s headquarters in Scottsdale, Arizona, on January 23,
    2019. The inspection and analysis of the cartridges, probes, and wire were performed
    at Axon’s headquarters in Scottsdale, Arizona, on January 24, 2019.

    The evidence envelopes labelled EM1 to EM5, EM7, and 2 envelopes labelled “AFIDs
    BTWN EM1-4” and “AFIDS BTWN EM4-8” were not opened or analyzed for this
    report.

    1. X26P CEW Generally:

    The TASER X26P CEW (first available in January 2013), pictured below in Figure 2.1.1
    below, is a single-cartridge CEW in the Axon Smart CEW line, available in black or
    yellow.




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                               Figure 2.1.1 – X26P CEW Basics

    Standard Cartridges: The X26P uses standard TASER CEW cartridges, which are
    deployed by the electrical arc of the CEW when the trigger is pulled.

    Safety Switch: The X26P features an ambidextrous safety switch. When the safety
    switch is placed in the Armed (up) position, the weapon is ready to activate. The X26P
    will arm anytime the safety switch is placed in the Armed position, except when in



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    Universal Serial Bus (USB) mode. The X26P enters safe mode when the safety switch
    is placed in the Safe (down) position.

    Trigger: When the X26P is armed and the trigger is pulled, it will activate the high
    voltage pulses, deploying a live cartridge in the cartridge bay, remaining active for 5
    seconds at 19 ± 1 pulses per second (pps). If the trigger is pulled and then released,
    after 5 seconds the high voltage activation will stop. With a standard battery pack,
    Digital Power Magazine (DPM), if the trigger is held beyond 5 seconds, the high
    voltage will remain active as long as the trigger is held or until the battery is depleted,
    whichever occurs first. If the safety is placed in the Safe position during any active
    cycle, the CEW will immediately end the discharge and turn off. Axon also offers
    battery packs that limit each activation to 5 seconds, regardless of the trigger being
    held (e.g., Auto Shut-Down Performance Power Magazine (APPM)). The APPM gives
    an audible beeping warning tone at the 4th second of the activation until the activation
    stops or the trigger is released. With the APPM, another 5-second activation can only
    be initiated by pulling the trigger again.

    Menu and Selector Button: The X26P menu is used to read or change the LASER
    (Light Amplification by Stimulated Emission of Radiation) and flashlight illumination
    settings. The illumination menu can be selected by pressing the Selector Button on
    the top of the weapon while in safe mode. Note that the X26P can be armed with the
    safety switch and activated at any time, even when the weapon is in the illumination
    settings. When the X26P is armed, the Selector Button will put the weapon in “stealth”
    mode, which will dim the Central Information Display (CID) and turn off the LASER
    and flashlight.

    Trilogy Logs: The X26P records information into the Trilogy™ Logs, which consist of
    the Event Log, the Pulse Logs, and the Engineering Logs.

           Event Log: The Event Log is a recording of the date, time, and details of each
           event that occurs with the X26P, including every time the weapon is armed,
           the trigger is pulled, the illumination menu is accessed, the time is changed,
           the safety switch is placed in the safe position, USB mode is entered, the
           firmware is updated, and more. Relevant events also include the internal
           temperature of the weapon, the duration of the event (in seconds), and the
           battery percentage remaining at the time of the event. The Event Log will
           record approximately 16,000 entries before it will “wrap” and begin to
           overwrite the oldest entries.

           Pulse Logs: The Pulse Logs are a recording of every pulse that is generated
           by the X26P. There are 3 measurements recorded for each pulse: (1) the
           voltage across the stimulation capacitor; (2) the voltage across the arc
           capacitor; and (3) the charge delivered from the X26P output. The Pulse Log is


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           an allocated part of memory and records each pulse from each activation,
           regardless of the duration of the activation. Therefore, the amount of
           activations stored in the Pulse Log is variable and dependent on the duration
           of the activations. Based on 5-second activations only, the Pulse Log will store
           422 activations before the memory fills up. Once the memory is full it will
           delete the oldest sector of memory to free up space, which will delete the
           oldest 40 (5-second) activations. However, based on specific usage, the
           number of activations stored in the Pulse Log could be more or less.

           Engineering Logs: The Engineering Logs are a recording of all activity in the
           X26P. The Engineering Log records, along with a timestamp, every button
           push, microprocessor command, circuit status, reported errors, faults and
           more. The Engineering Logs are only accessible by Axon Engineering and are
           used for troubleshooting purposes or acquiring deeper information about a
           specific activation or incident.

    USB: The X26P is downloaded by connecting the CEW to a proprietary USB pack that
    inserts into the CEW’s battery pack compartment. Once connected to USB, the X26P
    will enter USB mode and the CEW’s Trilogy Logs can be downloaded to a local
    Personal Computer (PC) or network or uploaded to Evidence.com using Evidence
    Sync™ software. USB mode also allows the synchronization of the X26P clock,
    firmware updates, and configuration setting.

    Effectiveness: CEWs are designed to cause neuromuscular incapacitation (NMI)
    when certain conditions are met. These required conditions include, but are not
    limited to:
       •   There is a completed and maintained circuit between the electrodes (or
           probes) to allow electrical current to flow;
       •   There is sufficient spread, or distance, between the electrodes; and
       •   There is sufficient motor-nerve mediated muscle mass between the
           electrodes.
    When the X26P is trigger activated and all required conditions are simultaneously
    met, the subject will likely experience some degree of NMI, in which some of his/her
    muscles will contract and the subject loses at least some volitional muscle control of
    the affected muscles.
    The effectiveness of a CEW to cause NMI is not always either 100% or 0%. Assuming
    there is a completed circuit, the level of NMI from a CEW deployment may vary based
    on several factors, including the spread between the probes, location of the probes on
    the subject’s body, clothing, movement and environmental factors.




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    2. Trilogy Log Download and Analysis for X26P CEW X13004WWX:

    The Trilogy logs for the X26P CEW X13004WWX were downloaded using Evidence
    Sync software version 3.15.89 and proprietary engineering software. The Event Log,
    Pulse Logs, and Engineering Logs were used for the analysis in this report.

    Clock Drift: Due to internal component tolerances and environmental conditions, the
    internal clock of an X26P CEW can drift up to ± 2 minutes per month. The enclosed
    Event Log, TASER_X26P_X13004WWX_online.pdf, indicates that prior to the reported
    incident on October 27, 2018, the last time synchronization was conducted was on
    February 6, 2018 (Line 284). Because the clock was running without synchronization
    for almost 9 months, the potential clock drift on October 27, 2018 would be expected
    to be up to ± 18 minutes.

    The best way to acquire the most accurate clock drift is to download the CEW and
    synchronize the clock as soon as possible after an incident. In this instance, the CEW
    clock was synchronized 10 days later, November 6, 2018 (Line 401). At that time, the
    clock was recorded to be running 21 seconds fast (ahead).

    The Event Log indicates the clock in the X26P CEW X13004WWX experienced an
    average drift of 0.08 seconds per day (00:00:21 / 273 days = 0.08 seconds per day).
    Because the X26P CEW clock was synchronized 10 days after the incident in question,
    based on the average drift, the clock would have drifted almost 1 second (0.8 seconds)
    during that time, so long as the clock drift remained linear. Therefore, the clock drift
    on October 27, 2018 is determined to be 20 seconds fast. By subtracting 20 seconds
    from the timestamps recorded on October 27, 2018, the most accurate time can be
    calculated.

       2.1.   X13004WWX Event Log Analysis:

    The X26P CEW records event information in the Event Log, recording the timestamp,
    type of event, event duration (rounded up to the nearest second), CEW internal
    temperature, and calculated battery capacity remaining.

    Evidence Sync software version 3.15.89 was used in online mode and logged into the
    Axon Investigation Services agency set to PST, to download the X26P CEW
    X13004WWX. The enclosed Event Log, TASER_X26P_X13004WWX_online.pdf,
    indicates that the X26P CEW was trigger activated 1 time on October 27, 2018. The
    Event Log recorded the following events, including the clock drift corrected times
    (note, since Daylight Savings time was in effect on October 27, 2018, the times are
    shown in reference to PDT):




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                       Table 2.1- Event Log Event + Clock Drift Correction
                                                                             Duration
      Line    Recorded Time (PDT)     Corrected Time (PDT)       Event
                                                                             (seconds)
      390     10/27/2018 9:07:50      10/27/2018 9:07:30         Armed          N/A
      391     10/27/2018 9:07:50      10/27/2018 9:07:30         Trigger          5
                                                                              294 (total
      392                                                         Safe
              10/27/2018 9:12:44      10/27/2018 9:12:24                     armed time)


    The Event Log indicates the X26P CEW X13004WWX was running firmware version
    04.032 on October 27, 2018.

       2.2.     X13004WWX Pulse Log Analysis:

    The Pulse Graphs available on Evidence.com are created from the Pulse Logs in the
    CEW, which contain electrical information about every pulse that the CEW discharges.
    Durations in the Event Log are rounded up to the second, while the durations in the
    Pulse Graphs are accurate to 1/10th (or 0.1) of a second.

    The X26P records information in the Pulse Logs, which includes the (1) arc voltage,
    (2) stimulation (stim) voltage, and (3) output charge.

       •     The arc voltage is the voltage across the arc capacitors in the X26P’s high
             voltage module. This voltage gives indication of what level the capacitors
             needed to be in order to produce an electrical arc.
       •     The stim voltage is the voltage across the stimulation capacitor in the X26P’s
             high voltage module. The stim voltage indicates the voltage that the
             stimulation capacitor charged up to when an electrical pulse was generated.
       •     The output charge is the value of the charge (electrical current over time)
             measured in microcoulombs (µC). One (1) Coulomb is equal to one (1) ampere
             over one (1) second, so one (1) microcoulomb is equal to 0.000001 amperes
             per second.

    The Arc and Stim voltages give an indication of the load impedance (high or low) and
    whether the load was stable or not.

             High Impedance Load: The load impedance can be high when the cartridge
             probes partially connect and arc through skin, drive-stun applications, or with
             probes contacting a subject with high adipose fat tissue content.

             Low Impedance Load: The load impedance can be low when arcing across
             the front of the cartridge or cartridge bay, arcing in water, shorted across
             metal, or with probes contacting a subject with low adipose fat tissue content.


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     The output charge indicates whether the capacitors discharged. Based on the extreme
     variation of loads that the X26P output can arc across, the pulse graphs alone cannot
     determine the exact situation of a CEW discharge, but rather can be combined with
     other incident-specific information/reports to imply the type of load, if any, the X26P
     CEW discharged into. The only definite indications the output charge can provide is
     when no charge is delivered (0 microcoulombs) or if the charge is within specification
     when the charge is delivered.

     The X26P CEW uses Charge Metering to attempt to regulate the output charge to a
     target level. When the X26P CEW is trigger activated, it charges the arc and
     stimulation capacitors to a nominal voltage. When the capacitors are signaled to
     discharge, the output charge is measured. If the charge is lower than the target value
     (high impedance load), the charge voltage of the arc and stim capacitors is increased.
     If the charge is higher than the target value, the charge voltage of the and arc and stim
     capacitors is lowered. The charge is measured again on the next pulse and the voltage
     is again adjusted accordingly. This algorithm is constantly metering and adjusting the
     output to keep the charge regulated. If the load impedance is very high, resulting in a
     low charge, the arc and stim voltages are increased up to a threshold value where it
     reaches the maximum voltage allowed for the capacitors. The X26P CEW will continue
     at this maximum value until the charge value is increased to the target value. Once
     the capacitors are at their maximum permitted voltage, it is impossible to increase
     the charge unless the load impedance drops. If the load impedance drops and the
     charge increases above the target value, the X26P CEW will lower the charge voltage
     on the arc and stim capacitors until the charge drops to the target value.

     Because the effectiveness of a CEW is dependent on a variety of factors, including,
     among others, having a closed circuit, probe spread, and location of the probes, the
     Pulse Logs alone do not indicate whether an activation was effective or not. The Pulse
     Logs alone can only determine if there was potential for effectiveness, given the
     conditions for effectiveness are met.

     Although the Pulse Logs give confirmational indication of the type of load the CEW
     discharged into (or did not discharge), the logs alone cannot indicate with certainty if
     a trigger activation was initiated with a cartridge or not, nor can it indicate with
     certainty whether a discharge was through probes of the cartridge or directly to the
     load in a drive (contact or touch) stun method.

     The times displayed in the Pulse Graphs are referenced to PST with Daylight Savings
     time considered.

     Based on the above Event Log and Pulse Graph information, details of the CEW
     activation on October 27, 2018, and the associated Pulse Graph, are below (the times
     listed do not include clock drift compensation):


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     Activation Sequence #391
     The X26P CEW X13004WWX was armed on October 27, 2018 at 09:07:50 PDT as
     indicated on Line 390. In the same second, the X26P CEW was activated via the trigger
     switch at 09:07:50 PDT as indicated on Line 391. The graph below indicates that the
     CEW was active for 5 seconds. The CEW had an output average during the entire
     duration of 36.3 µC charge, 949 V on the Arc Capacitor, and 2,254 V on the Stimulation
     capacitor. The graph indicates the X26P CEW X13004WWX had an intermittent
     connection, discharging into a high impedance load, typical of a clothing disconnect
     or discharge into a high adipose fat area, with 16 pulses unable to discharge due to
     extremely high impedance and delivering no charge.

     The graph indicates there was no potential for full effectiveness during this
     deployment due to the high impedance of the load and low charge when discharging,
     and no effect at all during the times with no discharge.

     The X26P CEW X13004WWX was placed in Safe mode at 09:12:44 PDT with no
     further activations.




               Figure 2.2.1 – X13004WWX Activation Sequence 391 Pulse Graph

        2.3.   X13004WWX Engineering Log Analysis:

     The Engineering Logs record all activity of the X26P, including event information and
     faults. The Engineering Log of the X26P CEW X13004WWX was analyzed to
     determine if there were any faults recorded on October 27, 2018. The Engineering
     Log of the X26P CEW X13004WWX recorded no faults or errors with the CEW on
     October 27, 2018 that would be expected to impede functionality.



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     The engineering logs also contain a record of each trigger pull and trigger release
     while the X26P CEW is armed. Although the X26P CEW ignores successive trigger
     pulls when it is already active, these entries are logged for informational purposes.
     The X26P CEW X13004WWX recorded the following trigger pulls and releases during
     the activation on October 27, 2018 (not including any clock drift):

                       Table 2.2- X13004WWX Trigger Switch Transitions
       Activation Line        Trigger Pull Time (PDT)         Trigger Release Time (PDT)

               391                    09:07:50                          09:07:51
               391                    09:07:51                          09:07:53
               391                    09:07:53                          09:07:54

     3. Trilogy Log Download and Analysis for X26P CEW X13004X2K:

     The Trilogy logs for the X26P CEW X13004X2K were downloaded using Evidence
     Sync software version 3.15.89 and proprietary engineering software. The Event Log,
     Pulse Logs, and Engineering Logs were used for the analysis in this report.

     Clock Drift: Due to internal component tolerances and environmental conditions, the
     internal clock of an X26P CEW can drift up to ± 2 minutes per month. The enclosed
     Event Log, TASER_X26P_X13004X2K_online.pdf, indicates that prior to the reported
     incident on October 27, 2018, the last time synchronization was conducted on
     January 30, 2018 (Line 362). Because the clock was running without synchronization
     for over 9 months, the potential clock drift on October 27, 2018 would be expected to
     be up to ± 18 minutes.

     The best way to acquire the most accurate clock drift is to download the CEW and
     synchronize the clock as soon as possible after an incident. In this instance, the CEW
     clock was synchronized 10 days later, on November 6, 2018 (Line 461). At that time,
     the clock was recorded to be running 5 seconds slow (behind).

     The Event Log indicates the clock in the X26P CEW X13004X2K experienced an
     average drift of 0.02 seconds per day (00:00:05 / 280 days = 0.02 seconds per day).
     Because the X26P CEW clock was synchronized 10 days after the incident in question,
     based on the average drift, the clock would have drifted less than 1 second (0.2
     seconds) during that time, so long as the clock drift remained linear. Assuming the
     clock drift did remain linear, the calculated clock drift on the day of the incident is 5
     seconds slow.

        3.1.    X13004X2K Event Log Analysis:

     The X26P CEW records event information in the Event Log, recording the timestamp,


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     type of event, event duration (rounded up to the nearest second), CEW internal
     temperature, and calculated battery capacity remaining.

     Evidence Sync software version 3.15.89 was used in online mode and logged into the
     Axon Investigation Services agency set to PDT, to download the X26P CEW
     X13004X2K. The enclosed Event Log, TASER_X26P_X13004X2K_online.pdf, indicates
     that the X26P CEW X13004X2K was trigger activated 1 time on October 27, 2018. The
     Event Log recorded the following events, including the clock drift corrected times
     (note, since Daylight Savings time was in effect on October 27, 2018, the times are
     shown in reference to PDT):

                       Table 3.1- Event Log Event + Clock Drift Correction
                                                                              Duration
      Line     Recorded Time (PDT)    Corrected Time (PDT)       Event
                                                                              (seconds)
       448     10/27/2018 9:07:51     10/27/2018 9:07:56         Armed           N/A
       449     10/27/2018 9:07:52     10/27/2018 9:07:57         Trigger            5
                                                                               263 (total
                                                                  Safe
       450     10/27/2018 9:12:14     10/27/2018 9:12:19                      armed time)
       451     10/27/2018 17:55:06    10/27/2018 17:55:11        Armed             N/A
                                                                             1 (total armed
                                                                  Safe
       452     10/27/2018 17:55:07    10/27/2018 17:55:12                         time)


     The Event Log indicates the X26P CEW X13004X2K was running firmware version
     04.032 on October 27, 2018.

        3.2.    X13004X2K Pulse Log Analysis:

     See Section 2.2 above for a detailed discussion on X26P Pulse Logs.

     Based on the above Event Log information and the Pulse Graph information, details
     of the CEW activation on October 27, 2018, and the associated Pulse Graph, are below
     (the times listed do not include clock drift compensation):




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     Activation Sequence #449
     The X26P CEW X13004X2K was armed on October 27, 2018 at 09:07:51 PDT as
     indicated on Line 448. One (1) second later, the X26P CEW was activated via the
     trigger switch at 09:07:52 PDT, as indicated on Line 449. The graph below indicates
     that the CEW was active for 5 seconds. The CEW had an output average during the
     entire 5 seconds of 66.2 µC charge, 808 V on the Arc Capacitor, and 1,667 V on the
     Stimulation capacitor. The graph indicates the X26P CEW X13004X2K discharged into
     a low impedance load, typical of a probe connection with flesh.

     The graph indicates there was potential for effective NMI, given all required
     conditions for NMI (i.e. closed circuit with the subject, sufficient probe spread,
     sufficient muscle mass between probes, etc.) were met.

     The X26P CEW X13004X2K was placed in safe mode at 09:12:14 PDT, as indicated on
     Line 450. The X26P CEW X13004X2K was armed again over eight (8) hours later at
     17:55:06 PDT, then placed in safe mode one (1) second later at 17:55:07 PDT, as
     indicated on Lines 451 and 542.




                Figure 3.2.1 – X13004X2K Activation Sequence 449 Pulse Graph




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        3.3.   X13004X2K Engineering Log Analysis:

     The Engineering Logs record all activity of the X26P, including event information and
     faults. The Engineering Log of the X26P CEW was analyzed to determine if there were
     any faults recorded on October 27, 2018. The Engineering Log of the X26P CEW
     recorded no faults or errors with the CEW on October 27, 2018 that would be
     expected to impede functionality.

     The engineering logs also contain a record of each trigger pull and trigger release
     while the X26P CEW is armed. Although the X26P CEW ignores successive trigger
     pulls when it is already active, these entries are logged for informational purposes.
     The X26P CEW X13004X2K recorded the following trigger pulls and releases during
     the activation on October 27, 2018 (not including any clock drift):

                       Table 3.3- X13004X2K Trigger Switch Transitions
           Activation Line          Trigger Pull Time (PDT)        Trigger Release Time
                                                                          (PDT)

                 449                        09:07:52                     09:07:55


     4. X26P CEW X13004WWX Electrical Analysis:

     The X26P CEW was tested for electrical output on January 23, 2019 using the Axon
     Certified Test Procedure for Testing to TASER X26, X26P, and X2 Specifications, revision
     11.0, dated November 1, 2017. The testing equipment and facilities are maintained in
     accordance with Axon’s ISO 9001:2015 certification (certificate no 06-R0974).

     The output specification test for the X26P is designed to test the critical parameters
     of the CEW: charge; pulse duration; and pulse repetition rate. The test protocol uses
     an average of at least 8 sample pulses for analysis, i.e., about half a second of output
     from the CEW. For testing and evaluating the electrical output from a CEW, this
     sampling method improves the accuracy and consistency of the data versus simply
     taking a single sampling of the waveform. The electrical measurements are
     performed from where the waveform exceeds approximately 50 volts in absolute
     amplitude.

     After an initial function test, the X26P CEW was activated 2 times into an Ohmite®
     LN100J600 600 Ohm non-inductive resistive load. The first load activation tested the
     pulse rate of the CEW. The second activation tested the Output Charge, Peak Loaded
     Voltage, and Pulse Duration. The pulses and waveform were measured using a
     Tektronix® DPO3034 Oscilloscope (SN C011815), calibrated by Tektronix, Inc. with a
     calibration due date of September 2019, a Tektronix P5100 Voltage Probe calibrated
     by Tektronix, Inc. with a calibration due date of December 2019, and a Tektronix TCP-


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     202 Current Probe (SN B040077), calibrated by Tektronix, Inc. with a due date of
     December 2019. The Signal Path Compensation procedure was performed on the
     oscilloscope before testing on January 23, 2019.

     The testing performed on the X26P CEW with the original PPM, serial number
     E18572924, at 56% capacity revealed the CEW is functioning within published
     specifications for pulse rate, peak loaded voltage, output charge, and pulse duration.

     Enclosed in this report are oscilloscope screen graphics and Pulse Graphs from the
     X26P CEW X13004WWX from the tests. Table 4.1 below displays the testing results
     for the X26P CEW X13004WWX:

                               Table 4.1 – X13004WWX Results
                       Full Waveform                    Pulse Rate
                                         Pulse Duration                     Peak Loaded
      Measures         Charge [Micro                    [Pulses per
                                         [Microseconds]                   Amplitude [Volts]
                         coulombs]                        second]
      X26P CEW
     Specification         63 ± 9            50 – 125         19 ± 1         840 - 1440
        Range
     X13004X2K             66.04              82.20            19.52            1,213




                             Figure 3.3.1- X13004WWX Pulse Rate




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                         Figure 3.3.2 - X13004WWX Waveform




                 Figure 3.3.3 – X13004WWX Pulse Rate Test Pulse Graph




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                    Figure 3.3.4 - X13004WWX Waveform Test Pulse Graph

     5. X26P CEW X13004WWX Post Electrical Analysis Download:

     The X26P CEW’s Event Log was downloaded after the electrical analysis to ensure
     proper function of the CEW data logging. The downloaded Trilogy Logs for the X26P
     CEW X13004WWX showed the 3 trigger activations from the function test and
     electrical analysis with the proper date, time (within minutes as the oscilloscope and
     CEW were not synchronized, plus time zone differences), temperature, duration, and
     battery capacity. The Event Log, TASER_X26P_X13004WWX_online_postanalysis.pdf,
     downloaded after the electrical analysis, is enclosed with this report along with the
     original Event Log downloaded prior to the electrical analysis.

     6. X26P CEW X13004X2K Electrical Analysis:

     The X26P CEW was tested for electrical output on January 23, 2019 using the Axon
     Certified Test Procedure for Testing to TASER X26, X26P, and X2 Specifications, revision
     11.0, dated November 1, 2017. The testing equipment and facilities are maintained in
     accordance with Axon’s ISO 9001:2015 certification (certificate no 06-R0974).

     The output specification test for the X26P is designed to test the critical parameters
     of the CEW: charge; pulse duration; and pulse repetition rate. The test protocol uses
     an average of at least 8 sample pulses for analysis, i.e., about half a second of output
     from the CEW. For testing and evaluating the electrical output from a CEW, this
     sampling method improves the accuracy and consistency of the data versus simply
     taking a single sampling of the waveform. The electrical measurements are
     performed from where the waveform exceeds approximately 50 volts in absolute
     amplitude.


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     After an initial function test, the X26P CEW was activated 2 times into an Ohmite®
     LN100J600 600 Ohm non-inductive resistive load. The first load activation tested the
     pulse rate of the CEW. The second activation tested the Output Charge, Peak Loaded
     Voltage, and Pulse Duration. The pulses and waveform were measured using a
     Tektronix® DPO3034 Oscilloscope (SN C011815), calibrated by Tektronix, Inc. with a
     calibration due date of September 2019, a Tektronix P5100 Voltage Probe calibrated
     by Tektronix, Inc. with a calibration due date of December 2019, and a Tektronix TCP-
     202 Current Probe (SN B040077), calibrated by Tektronix, Inc. with a due date of
     December 2019. The Signal Path Compensation procedure was performed on the
     oscilloscope before testing on January 23, 2019.

     The testing performed on the X26P CEW with the original PPM, serial number
     E18571280, at 55% capacity revealed the CEW is functioning within published
     specifications for pulse rate, peak loaded voltage, output charge, and pulse duration.

     Enclosed in this report are oscilloscope screen graphics and Pulse Graphs from the
     X26P CEW X13004X2K from the tests. Table 6.1 below displays the testing results for
     the X26P CEW X13004X2K:

                                Table 6.1 – X13004X2K Results
                       Full Waveform                      Pulse Rate
                                          Pulse Duration                    Peak Loaded
      Measures         Charge [Micro                      [Pulses per
                                         [Microseconds]                   Amplitude [Volts]
                         coulombs]                          second]
      X26P CEW
     Specification         63 ± 9            50 – 125         19 ± 1         840 - 1440
        Range
     X13004X2K             61.49              85.20            19.59            1,107




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                         Figure 3.3.1 - X13004X2K Pulse Rate




                         Figure 3.3.2 - X13004X2K Waveform




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                     Figure 3.3.3 – X13004X2K Pulse Rate Test Pulse Graph




                     Figure 3.3.4 - X13004X2K Waveform Test Pulse Graph

     7. X26P CEW X13004X2K Post Electrical Analysis Download:

     The X26P CEW’s Event Log was downloaded after the electrical analysis to ensure
     proper function of the CEW data logging. The downloaded Trilogy Logs for the X26P
     CEW X13004X2K showed the 3 trigger activations from the function test and
     electrical analysis with the proper date, time (within minutes as the oscilloscope and
     CEW were not synchronized, plus time zone differences), temperature, duration, and
     battery capacity. The Event Log, TASER_X26P_X13004X2K_online_postanalysis.pdf,


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     downloaded after the electrical analysis, is enclosed with this report along with the
     original Event Log downloaded prior to the electrical analysis.

     8. X26P CEW X13004WWX Inspection

     The X26P CEW X13004WWX was inspected for damage that could impede
     functionality or add risk to the Trilogy Log integrity. This inspection focused on the
     integrity of the CEW seams, safety functionality, CID functionality, and battery
     contacts. There was no damage found that would be expected to impede functionality.

     9. X26P CEW X13004X2K Inspection

     The X26P CEW X13004X2K was inspected for damage that could impede functionality
     or add risk to the Trilogy Log integrity. This inspection focused on the integrity of the
     CEW seams, safety functionality, CID functionality, and battery contacts. There was
     no damage found that would be expected to impede functionality.

     10. Cartridge, Wire, & Probe Analysis

     The X26P CEW deploys TASER brand Standard Cartridges. The cartridges for the
     X26P CEW are offered in distances of 15ft, 21ft, and 25ft. The cartridge contains a
     “blast door” that not only holds the wires and probes before deployment, but also
     assists in the deployment of the cartridge by guiding the electrical arc to the primer
     via a conductive ink strip. The color of the cartridge blast door indicates the length of
     wire, or distance of the cartridge. A yellow blast door indicates a 15ft cartridge, a
     silver blast door indicates a 21ft cartridge, and a green blast door indicates a 25ft
     cartridge. When the X26P CEW is trigger activated, the first electrical arc ignites a
     primer, which pushes a nitrogen filled gas capsule into a puncture pin. When the
     nitrogen gas escapes from the capsule, the air propels the wire-tethered probes
     forward, also ejecting the Anti-Felon Identification (AFID) tags. AFID tags contain
     print of the serial number of the cartridge they were ejected from.




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                   Figure 3.3.1- Standard Cartridge cutaway diagram



                  Standard Cartridge – 15, 21 & 25 Ft
                 The top probe is “horizontal” relative to the
                 CEW




                 Bottom probe 8 degrees down

                            Figure 3.3.2- Probe angles




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     * The 35ft cartridge is no longer available




                                      Figure 3.3.3 – Cartridge Summary




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               AFIDs




                   •   Each cartridge contains 22-30 Anti-Felon Identification Tags
                       (AFIDs) with the cartridge serial number printed on them.
                   •   Cartridges manufactured after November 2009 have the serial number
                       and 2D barcode LASER engraved onto the back of the cartridge
                                   Figure 3.3.4- AFID information

     AFID is an acronym for Anti‐Felon Identification. When a TASER cartridge or a
     Smart cartridge is deployed, 20‐30 identification tags called AFIDs are dispersed.
     The AFIDs are printed with the serial number of the cartridge they are deployed from
     and help in determining the purchaser of the cartridge. The AFIDs were originally
     created for civilian sales of TASER CEWs to deter criminal use. As an offshoot of this,
     many law enforcement agencies collect AFID tags at the scene of a deployment to
     determine the number of cartridges deployed and who deployed them. This helps to
     prevent abuse and protects officers from unfounded allegations through
     documentation of use.

     In addition to the Full Analysis of the X26P CEW, an analysis of the expended 25’
     Standard Cartridges with serial numbers C410623RN and C4106241X, wire, and
     probes submitted with the X26P CEWs were inspected and analyzed to investigate
     whether evidence exists of electrical discharge through the probes.

        10.1. Item 6.1 - Cartridge C4106241X

     The expended 25’ Standard cartridge with serial number C4106241X was inspected.
     Both of the wires are not present, both broken at the wire pouch. All expected
     components, with the exception of the broken wire, are present and in-tact.




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                        Figure 10.1.1 – Expended Cartridge C4106241X



        10.2. Item 7.1 - Cartridge C410623RN

     The expended 25’ Standard cartridge with serial number C410623RN was inspected.
     It has one tangled bundle of wire still attached to it and one wire broken at the wire
     pouch. All expected components, with the exception of the broken wire, are present
     and in-tact.




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                        Figure 10.2.1 – Expended Cartridge C410623RN


        10.3. EM9 - Probe

     The evidence envelope EM9 contains a CEW cartridge probe front portion that is
     missing the rear half of its body. The probe’s barb end is curved and bent. The missing
     rear half of its body and bent nature of the barb end indicate the probe impacted a
     hard surface at some point or was bent after impact. The wire knot end would be
     inserted in the rear half of the probe body, so the typical wire knot inspection could
     not be conducted.




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                  Figure 10.3.1- EM9 Probe missing rear body and wire knot




                 Figure 10.3.2 – EM9 Probe missing rear body and wire knot

        10.4. EM10 – Probe 1

     The evidence envelope EM10 contains two probes in containers labelled “Probe 1”
     and “Probe 2”. Probe 1 is missing the wire knot (Figure 10.4.1) and therefore the



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     typical wire knot inspection could not be conducted. The probe’s barbed end is
     straight and visually appears clean and free of foreign material (Figure 10.4.2).




                       Figure 10.4.1 – EM10 Probe 1 missing wire knot




                          Figure 10.4.2 – EM10 Probe 1 barbed end




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        10.5. EM10 – Probe 2

     “Probe 2” from the envelope labelled EM10 is missing the wire knot (Figure 10.5.1)
     and therefore the typical wire knot inspection could not be conducted. The probe’s
     barbed end is slightly bent, but visually appears clean and free of foreign material
     (Figure 10.5.2).




                       Figure 10.5.1 – EM10 Probe 2 missing wire knot




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                           Figure 10.5.2 – EM10 Probe 2 barbed end

        10.6. “Item 9” Wire Bundle

     The sealed envelope labelled “Item 9” contains a bundle of apparent cartridge wire.




                              Figure 10.6.1 – Item 9 wire bundle




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     Four (4) wire ends were located within the wire bundle (Figure 10.6.2). Three (3) of
     the wire ends appear to have been pulled rather than cut, indicated by the stretched
     insulation, while one of the wire ends has evidence of electrical discharge (Figure
     10.6.3), indicated by the melted insulation rather than stretched insulation (Figure
     10.6.4). The wire end with electrical discharge evidence does not contain bends in the
     wire indicative of it being from the wire knot of a probe.




                                Figure 10.6.2 – Item 9 wire ends




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                   Figure 10.6.3 – Item 9 wire end with electrical discharge




             Figure 10.6.4 – Item 9 wire ends pulled insulation vs melted insulation

     It cannot be determined which cartridge or probe(s) the wire bundle in the envelope
     labelled “Item 9” belonged to. Although one (1) wire end has evidence of discharge,
     we cannot determine what type of load or conductive surface the discharge was
     delivered to.



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        10.7. “Item 10” Wire Bundle and Probe Rear

     The sealed envelope labelled “Item 10” contains a bundle of apparent cartridge wire
     with the rear of a cartridge probe attached via a wire knot. The rear probe appears to
     belong to the front of the probe contained in the envelope labeled EM9.




                               Figure 10.7.1 – Item 10 wire bundle

     The wire knot is present in the rear of the probe (Figure 10.7.2). The probe rear’s metal
     surface is damaged (Figure 10.7.3), indicating it had hit a hard surface on impact or
     was forced into a hard object that scratched the probe’s surface after impact.




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                      Figure 10.7.2 Item 10 rear of probe with wire knot




                           Figure 10.7.3 - Item 10 surface damage

     The probe’s wire knot has evidence of electrical discharge, indicating the CEW
     discharged through the probe (Figure 10.7.4). It cannot be determined if the
     discharge occurred before or after the rear probe body was separated from the front
     probe body.


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                            Figure 10.7.4 – Item 10 wire knot end

     Three (3) wire ends were found in the wire bundle. Each of the ends appear to have
     been pulled rather than cut, indicated by the stretched insulation (Figure 10.7.5).




                              Figure 10.7.5 – Item 10 wire ends




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     11. Summary:

     An analysis of the X26P CEW X13004WWX and X26P CEW X13004X2K was
     conducted in reference to a reported incident on October 27, 2018 with the following
     summarized results:
     The X26P CEW X13004WWX:
        •   was trigger activated 1 time on October 27, 2018;
        •   experienced clock drift of 20 seconds fast (ahead) on October 27, 2018;
        •   had an intermittent electrical connection on Activation Sequence 391 and
            would not have had potential for full effectiveness;
        •   did not record any faults or errors that would be expected to impede
            functionality on October 27, 2018;
        •   is operating within published specifications; and
        •   has no visual damage that would be expected to impede functionality.


     The X26P CEW X13004X2K:
        •   was trigger activated 1 time on October 27, 2018;
        •   experienced clock drift of 5 seconds slow (behind) on October 27, 2018;
        •   had a complete electrical connection on Activation Sequence 449 and had
            potential for effective NMI, given all conditions for NMI were met;
        •   did not record any faults or errors that would be expected to impede
            functionality on October 27, 2018;
        •   is operating within published specifications; and
        •   has no visual damage that would be expected to impede functionality.


     The Probe, Wire, and Cartridge Inspection showed:
        •   Cartridge C4106241X is deployed and has all expected components in-tact;
        •   Cartridge C410623RN is deployed and has all expected components in-tact;
        •   The “EM9” probe is missing the rear half of the body and wire knot. The barbed
            end is severely bent, indicating it struck a hard object or was bent after impact.
        •   The “EM10” Probe 1 is missing the wire knot, preventing the wire knot
            analysis. The barbed end is straight and appears visually clean and free of
            foreign material.
        •   The “EM10” Probe 2 is missing the wire knot, preventing the wire knot
            analysis. The barbed end is slightly bent and appears visually clean and free of
            foreign material.


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         •   The “Item 9” wire bundle contains a rear half of a cartridge probe and may
             belong to the “EM9” probe half. The wire knot is present in the rear probe and
             shows evidence of electrical discharge.
         •   Four ends of wire were located within the “EM9” bundle. Three ends appear
             broken due to wire stretching and the fourth end shows evidence of electrical
             discharge.
         •   The wire end with evidence of electrical discharge does not appear to have
             come from a probe’s wire knot.
         •   The “Item 10” wire bundle does not contain any probes or probe sections. 3
             ends of wire were located within the bundle and each end appears broken due
             to wire stretch.


     Axon recommends that all CEWs be downloaded and clocks synchronized at least
     every 3 months and that functional tests be performed daily before each shift.
     The X26P CEWs X13004WWX and X13004X2K, XPPMs E18572924 and E18571280,
     deployed cartridges C4106241X and C410623RN, probes, wire, and all other
     evidence received with the CEWs are being returned ‘as is’.

     Sincerely,




     Bryan Chiles
     Technical Compliance Manager

     Enclosures:
     •   TASER_X26P_X13004WWX_online.pdf - PDF file containing the original Event Log from
         X26P CEW X13004WWX.
     •   TASER_X26P_X13004X2K_online.pdf - PDF file containing the original Event Log from
         X26P CEW X13004X2K.
     •   PDF file containing the X26P CEW X13004WWX Pulse Graph from the Activation
         Sequence 391.
     •   PDF file containing the X26P CEW X13004X2K Pulse Graphs from the Activation
         Sequence 449.
     •   X13004WWX Electrical Analysis Form.pdf - Electrical Analysis form for the X26P CEW
         X13004WWX.
     •   tek00000.png – Oscilloscope screenshot from the Pulse Rate Test for the X26P CEW
         X13004WWX
     •   tek00001.png – Oscilloscope screenshot from the Waveform Test for the X26P CEW


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         X13004WWX
     •   X13004X2K Electrical Analysis Form.pdf - Electrical Analysis form for the X26P CEW
         X13004X2K.
     •   tek00002.png – Oscilloscope screenshot from the Pulse Rate Test for the X26P CEW
         X13004X2K
     •   tek00003.png – Oscilloscope screenshot from the Waveform Test for the X26P CEW
         X13004X2K
     •   TASER_X26P_X13004WWX_online_post-analysis.pdf - PDF file containing the Event Log
         from X26P CEW after the electrical analysis.
     •   TASER_X26P_X13004X2K_online_post-analysis.pdf - PDF file containing the Event Log
         from X26P CEW after the electrical analysis.
     •   PDF files containing the X26P CEW X13004WWX Pulse Graphs from the function test
         and electrical analysis trigger pulls.
     •   PDF files containing the X26P CEW X13004X2K Pulse Graphs from the function test and
         electrical analysis trigger pulls.
     •   Check in photos of both X26P CEWs and APPMs
     •   Probe, Wire, and Cartridge Analysis still and microscope photos.




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